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                               UNITED STATES DISTRICT COURT
 5
                              CENTRAL DISTRICT OF CALIFORNIA
 6
     JEFFREY SMITH,                                 Case No. 5:20-cv-02130-DDP-KK
 7
                            Plaintiff,
 8
     v.
 9                                                  ORDER OF DISMISSAL WITH
     LENDINGUSA, LLC; AND TRANSUNION,
                                                    PREJUDICE OF TRANS UNION
10   LLC,
                                                    LLC
                             Defendants.
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14
                 Plaintiff Jeffrey Smith and Defendant Trans Union LLC have announced to the
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     Court that all matters in controversy against Trans Union LLC have been resolved. A
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     Stipulation of Dismissal with Prejudice of Trans Union LLC has been signed and filed
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     with the Court. Having considered the Stipulation of Dismissal with Prejudice of
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     Trans Union LLC, the Court makes and delivers the following ruling:
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                 IT IS ORDERED that the claims and causes of action that were or could have
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     been asserted herein by Plaintiff Jeffrey Smith against Defendant Trans Union LLC
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     are in all respects dismissed with prejudice to the refiling of same, with court costs
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     and attorneys’ fees to be paid by the party incurring same.
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     DATED this 12th day of November 2021.
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                                              HON. DEAN D. PREGERSON
27                                            UNITED STATES DISTRICT JUDGE
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     3901510.1
